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                               Exhibit 21



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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                                                                               Page 1
                 UNITED STATES DISTRICT COURT

              FOR THE DISTRICT OF MASSACHUSETTS

   - - - - - - - - - - - - - - - -

   IN RE:    PHARMACEUTICAL           ) MDL NO. 1456

   INDUSTRY AVERAGE WHOLESALE         ) CIVIL ACTION

   PRICE LITIGATION                   ) 01-CV-12257-PBS

   THIS DOCUMENT RELATES TO           )

   U.S. ex rel. Ven-a-Care of         ) Judge Patti B.

   the Florida Keys, Inc.             ) Saris

        v.                            ) Chief Magistrate

   Abbott Laboratories, Inc.,         ) Judge Marianne B.

   No. 06-CV-11337-PBS                ) Bowler

   - - - - - - - - - - - - - - - -

            (captions continue on following pages)




            Videotaped deposition of Kathleen Buto

                           Volume I



                        Washington, D.C.

                 Wednesday, September 12, 2007

                           9:00 a.m.




                         Henderson Legal Services
                               202-220-4158

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                                                                             Page 2
 1
                          IN THE CIRCUIT COURT OF
 2
                        MONTGOMERY COUNTY, ALABAMA
 3
     - - - - - - - - - - - - - - - -
 4
     STATE OF ALABAMA,                              )
 5
                       Plaintiff,                   ) Case No.
 6
            vs.                                     ) CV-05-219
 7
     ABBOTT LABORATORIES, INC.,                     ) Judge Charles
 8
     et al.,                                        ) Price
 9
                       Defendants.                  )
10
     - - - - - - - - - - - - - - - -
11

12

13
                    STATE OF WISCONSIN CIRCUIT COURT
14
                                   DANE COUNTY
15
     - - - - - - - - - - - - - - - -
16
     STATE OF WISCONSIN,                            )
17
                       Plaintiff,                   )
18
            vs.                                     ) CASE NO.
19
     AMGEN INC., et al.,                            ) 04-CV-1709
20
                       Defendants.                  )
21
     - - - - - - - - - - - - - - - -
22




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                                                                         Page 105
 1
     or Blue Book, whichever is lower."
 2
                    Do you recall that HCFA had proposed
 3
     and then eventually decided to set the limit at
 4
     150 percent of the lowest reported price?
 5
            A.      No, I don't.          I don't remember that.
 6
            Q.      Do you recall any discussion during
 7
     your time at HCFA of steps the federal government
 8
     was taking to encourage providers to use generic
 9
     drugs?
10
            A.      No.     I don't remember that.               Steps we
11
     were taking?         What do you mean by steps?                   Can you
12
     be clearer about that?               Regulatory changes or --
13
     let me just be clear.              The government doesn't
14
     usually take steps unless it's through a
15
     regulation or a manual instruction or that kind
16
     of thing.       So I don't know quite what you mean by
17
     -- or maybe it's public relations, but --
18
            Q.      Let me rephrase.            Do you recall HCFA
19
     proposing any regulations proposing or issuing
20
     any regulations to encourage use of generic
21
     drugs?
22
            A.      My recollection is that this was

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                                                                         Page 128
 1
     appear to be important to obtaining long term
 2
     equity and effectiveness.                The published Red
 3
     Book/Blue Book prices have been shown to have
 4
     serious deficiencies as a base for
 5
     reimbursement."
 6
                    Were you aware during your time at HCFA
 7
     that there were serious deficiencies in using Red
 8
     Book and Blue Book prices as a basis for
 9
     reimbursement?
10
            A.      We were aware that based on some IG
11
     surveys that we believed that those were not
12
     reliable reflections of what we should actually
13
     be paying.        So whether you'd call that a
14
     deficiency or not, we felt they were just not a
15
     reliable basis.
16
            Q.      Now, when you say not a reliable basis,
17
     what do you mean by that?
18
            A.      They seemed to -- if we continued
19
     paying based on average wholesale price they
20
     seemed to be inflated.               And the inspector general
21
     surveys seemed to indicate that it was in the
22
     neighborhood of 15 or 16 percent too high.                             So

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                                                                         Page 129
 1
     that's what I mean by not a good basis.                         Our
 2
     premise was always what should we be fairly
 3
     paying, not -- and we were always looking for
 4
     ways to be more accurate.
 5
                    MR. TORBORG:          Why don't we take a
 6
     break.
 7
                    THE WITNESS:          Okay.
 8
                    THE VIDEOGRAPHER:            This concludes tape
 9
     2 in the deposition of Catherine Buto.                        Off the
10
     record at 11:39.
11
                            (Recess).
12
                            (Exhibit Abbott 287 was marked for
13
     identification.)
14
                    THE VIDEOGRAPHER:            This begins tape 3
15
     in the deposition of Kathleen Buto.                      On the
16
     record at 11:59.
17
     BY MR. TORBORG:
18
            Q.      Welcome back, Ms. Buto.
19
            A.      Thank you.
20
            Q.      I have handed the witness what we've
21
     marked as Exhibit Abbott 287.                  It bears the Bates
22
     number HHC 002-0540 through 44.                    It appears to be

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                                                                         Page 133
 1
     in to me.       Probably authored by the office of
 2
     eligibility policy.
 3
            Q.      And why did the central office agree
 4
     with the regional office's decision to disapprove
 5
     this particular plan amendment?
 6
            A.      There were -- I haven't looked at this
 7
     in great detail.           But one of the principal
 8
     reasons was, you know, our belief based on --
 9
     particularly on IG surveys that AWP would overpay
10
     for drugs and that the state had sort of failed
11
     its requirement to use a methodology that would
12
     essentially be a proxy for estimated acquisition
13
     costs.      It would be their way of arriving at
14
     estimated acquisition costs.
15
            Q.      And the term estimated acquisition
16
     cost, was that a regulatory term?
17
            A.      I believe it was in regulations, yes.
18
            Q.      And what was the definition of
19
     estimated acquisition cost, as you remember?
20
            A.      I don't remember it.              But it was meant
21
     to be -- I'll tell you what it was meant to be.
22
     It was meant to be our best proxy for actual

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                                                                         Page 134
 1
     acquisition cost.            So the agency and the regions
 2
     themselves found it difficult or somehow
 3
     precluded by paperwork concerns or whatever from
 4
     actually collecting actual acquisition cost data.
 5
     And so estimated acquisition cost was trying to
 6
     get at the -- as close to an accurate acquisition
 7
     cost as a state in this case could sort of come
 8
     up with.
 9
                    So what would the method be that would
10
     lead them to think they had gotten close to what
11
     that acquisition cost would be, how would they
12
     estimate it.         And then we applied just our own
13
     sort of oversight of that to see whether or not
14
     we thought they had taken a responsible position
15
     in that regard.
16
            Q.      You have mentioned a few times reports
17
     from IG.       You're referring to the office of
18
     inspector general?
19
            A.      Yes.     Office of inspector general.
20
            Q.      If I could ask you to look at the
21
     second page, 543, the second paragraph, you wrote
22
     or you signed a letter that wrote the following

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                                                                         Page 137
 1
     cost.     In meeting those requirements it's
 2
     supposed to be trying to come up with a
 3
     methodology that gets to the acquisition costs
 4
     for the drugs and should not take into account
 5
     these other costs.
 6
            Q.      It's your position that these other
 7
     costs should be dealt with separately in
 8
     establishing the dispensing fee?
 9
                    MR. DRAYCOTT:          Objection to form.                 You
10
     can answer.
11
                    THE WITNESS:          Justin, just --
12
                    MR. DRAYCOTT:          I said objection to
13
     form. Witness can answer.
14
            A.      You know, I don't have a formed opinion
15
     on how you establish the dispensing fee so it's
16
     really kind of hard for me to respond to that.                                  I
17
     did feel at the time when I signed this that
18
     estimated acquisition cost was meant to cover
19
     certain costs and that the methodology ought to
20
     be accurate to the best of the state's ability
21
     and that's what we were trying to get at.
22
                    These other costs for dispensing fees

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                                                                          Page 138
 1
     or other costs of the pharmacy or provider were
 2
     not meant to be included.                 That's really all the
 3
     meaning of that statute or of that paragraph was.
 4
             Q.     You stated that when you signed this
 5
     that estimated acquisition cost was meant to
 6
     cover certain costs.              What other costs or what
 7
     costs were supposed to be included in EAC?
 8
             A.     Acquiring the drug.              "The price
 9
     generally and currently paid by providers for a
10
     drug marketed or sold by a particular
11
     manufacturer or labeler in the package siz of the
12
     drug most frequently purchased by providers."
13
             Q.     So when you signed this you interpreted
14
     the term estimated acquisition cost to include
15
     just the amount --
16
             A.     For a drug.
17
             Q.     -- for the drug?
18
             A.     Yeah.
19
             Q.     Do you recall that that definition ever
20
     changed during your time at --
21
             A.     I don't recall.
22
             Q.     -- HCFA?

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                                                                          Page 143
 1
     OIG?
 2
             A.     I don't know.
 3
             Q.     I'd like to ask --
 4
             A.     Let's just look at the states for a
 5
     second.       So they were cross country.                  They
 6
     weren't in just one region.                  Yeah.      I don't know.
 7
     I don't remember a meeting with them.
 8
             Q.     I'd like to ask you to go towards the
 9
     top of the very first paragraph with the page we
10
     were looking at the report, 10.193.                      The report
11
     states "Within the pharmaceuticals industry AWP
12
     means nondiscounted list price."                     Is that
13
     something that you knew during your time at HCFA?
14
             A.     No, not really.            As I said, my
15
     understanding was based more on AWP was something
16
     that was collected and published by certain
17
     sources from manufacturers.                  But what it amounted
18
     to was not something I really understood, except
19
     that I thought -- we all did, based on some of
20
     these surveys -- it was too high a payment rate.
21
             Q.     You knew by using average wholesale
22
     price in reimbursement methodologies that you

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                                                                          Page 144
 1
     were not getting to a real acquisition cost; is
 2
     that right?
 3
             A.     We strongly suspected we were not, but
 4
     we did not have the data to prove that we were
 5
     not, which is why -- in my time there were
 6
     numerous attempts to try to figure out how to get
 7
     better data.          The OIG was one source of that
 8
     data.
 9
             Q.     I'd like to ask you to go to the page
10
     on the report 10,205.
11
             A.     Okay.
12
             Q.     The last paragraph of that page states
13
     "On February 22nd members of our staff discussed
14
     the Texas state agency's plans for a future drug
15
     reimbursement with the director of the Medicaid
16
     prescription drug program and his staff.                           We were
17
     told that the Texas board of human resources has
18
     directed the state that they alternative drug
19
     reimbursement policies."
20
                    "In this connection the program
21
     director and his staff have decided upon a
22
     tentative plan of action which they believe will

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                                                                          Page 205
 1
     payment is the only available payment mechanism
 2
     for the services that are essential to providing
 3
     good quality care.             The long-standing use of AWP
 4
     to determine reimbursement has masked the failure
 5
     of Medicare and Medicaid payment policies to
 6
     define an account for the service component."
 7
                    Is that something, Ms. Buto, that you
 8
     became aware of during your time at HCFA, that
 9
     the use of AWP in determining reimbursement for
10
     drugs was masking the failure of Medicare and
11
     Medicaid payment policies to pay for the
12
     services?
13
             A.     That's not the way I would have -- I
14
     wouldn't have characterized it that way.                           You
15
     know, again, I come at it -- I came at it then
16
     from the standpoint of this is drug payment.
17
     It's supposed to be paying a fair rate.                          That has
18
     been shown or we believe it to be the case that
19
     it's overpaying for the drug.                   We should do
20
     something about that.
21
                    This issue of what it was covering or
22
     compensating for, to me that's a separate issue

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                                                                          Page 206
 1
     that really needs to be taken on directly.                              If we
 2
     should be covering these services we should be
 3
     covering these services and we should do it in a
 4
     straight-up way and it shouldn't be under some
 5
     other mechanism.
 6
                    So I think of those as two separate
 7
     issues and I would not have said, well, you know,
 8
     a problem with AWP is it masks the, you know, the
 9
     need to account for services that are otherwise
10
     needed.       I don't -- you know, that's not the way
11
     I would have looked at it.
12
             Q.     Would you agree with me that if you
13
     were attempting to evaluate how much the
14
     government has overpaid for the administration of
15
     home IV therapy, assuming that it is something
16
     that should be covered, do you think that you
17
     need to consider both sides of the equation?
18
                    MR. DRAYCOTT:           Objection.        You can
19
     answer if you can.
20
                    THE WITNESS:          Okay.
21
             A.     I would look at the drug because that's
22
     the covered service and determine the overpayment

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                                                                          Page 253
 1
     identification.)
 2
     BY MR. TORBORG:
 3
             Q.     For the record, what I've marked as
 4
     Exhibit Abbott 298 is a Westlaw printout of
 5
     certain portions of the proposed rule dated June
 6
     5th 1991 for fee schedule for physician services.
 7
     The actual proposed regulation is quite long.                                  I
 8
     printed out portions that I wanted to ask you
 9
     some questions about.
10
             A.     Okay.
11
             Q.     And I believe you stated earlier that
12
     this was an effort, this particular fee schedule
13
     regulation, that you were involved in, correct?
14
             A.     Correct.
15
             Q.     If I could direct you to the second
16
     page of the document that I've handed you.                              It
17
     has page 24 at the top?
18
             A.     Yes.      Mm-hmm.
19
             Q.     The section under drugs states "The
20
     program currently pays for drugs furnished in
21
     physician's offices that are not self-
22
     administered under the incident 2 provision set

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                                                                          Page 266
 1
     for drugs."
 2
                    And in that sentence in your final rule
 3
     the reference to national AWP was to what?
 4
             A.     Say that again.
 5
             Q.     The reference to the term AWP in this
 6
     regulation was referring to what?
 7
             A.     Well, it sounds like they're -- I guess
 8
     the thing that I'm stuck on is that it's defined
 9
     as a median price for all sources of the generic
10
     form of the drug.            It doesn't seem to address the
11
     brand where there is no generic substitution.
12
     The national AWP is a median price for all
13
     sources of the generic form of the drug.
14
             Q.     My question I think was a little
15
     simpler one than than.
16
             A.     Okay.      Sorry.
17
             Q.     What does AWP mean in that language?
18
             A.     Average wholesale price?                 Is that what
19
     you mean?
20
             Q.     Yes.      Does it refer to the prices in
21
     Red Book and other compendia?
22
             A.     It doesn't seem to.

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                                                                          Page 267
 1
             Q.     It does not explicitly there, correct?
 2
             A.     It's not explicitly here.
 3
             Q.     Let's go, if we could to section --
 4
     page 265 at the end of the document.                       And if you
 5
     would also have side by side the proposed rule
 6
     that we looked at previously --
 7
             A.     Right.
 8
             Q.     Do you have that in front of you?
 9
             A.     Mm-hmm.
10
             Q.     Under the final rule the methodology
11
     section B states "Payment for a drug described in
12
     paragraph A of this section is based on the lower
13
     of the estimated acquisition cost or the national
14
     average wholesale price of the drug," correct?
15
             A.     Yes.
16
             Q.     The proposed rule had stated under B,
17
     payment rule, "Except as specified in paragraph D
18
     of this section, payment for drugs furnished
19
     incident to a physician's service is limited to
20
     85 percent of the national average wholesale
21
     price as determined by HCFA."                   And it's that "as
22
     determined by HCFA" language that NMC and ASCO

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